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             EXHIBIT 6
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                            UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA




IN RE: ROUNDUP PRODUCTS                       MDL No. 2741
LIABILITY LITIGATION                          Case No. 16-md-02741-VC


This document relates to:
ALL ACTIONS




              EXPERT REPORT OF DR. CHARLES W. JAMESON, Ph.D.

                       IN SUPPORT OF GENERAL CAUSATION

                              ON BEHALF OF PLAINTIFFS
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                       Charles William Jameson, Ph.D.
                          Independent Consultant
                                May 12, 2017

Statement of Purpose
       I have been asked to provide my expert opinions regarding the carcinogenic
potential of glyphosate and glyphosate-based formulations. As a chemist and toxicologist,
I evaluated the association of cancer, including non-Hodgkin’s lymphoma (“NHL”), with
exposure to glyphosate and/or glyphosate-based formulations. In performing my
analysis, I relied on standard methods used in toxicology. I reviewed published, peer-
reviewed scientific literature, publically available Government and Industry documents,
and internal company documents and studies provided to me. All my opinions expressed
in this report are based on a reasonable degree of scientific certainty. I reserve the right
to supplement this report if additional information becomes available that are relevant to
my opinions.


Qualifications
       I am a private consultant in environmental toxicology specializing in
carcinogenesis. I received my undergraduate degree in chemistry in 1970 from Mount
Saint Mary’s College, Emmitsburg, Maryland, and my Ph.D. in Organic Chemistry in 1975
from the University of Maryland, College Park. I started my career in 1965 where, as a
rising high school senior, I spent the summer at a bioassay research laboratory first as a
mouse room tech cleaning cages and later as an assistant in the chemistry lab mixing
pesticides in rodent feed for the bioassay studies. Upon completion of my Ph.D. and a
brief post-doc at the University of Maryland, I began working in 1976 as a contractor to
the National Institutes of Health’s (NIH) National Cancer Institute (NCI), serving as a
senior chemist in support of NCI’s Rodent Bioassay Program. In this capacity I was
responsible for helping to monitor and evaluate the chemistry performed at the NCI’s
contract bioassay laboratories. In addition, I also provided support to the NCI staff for
the identification of new substances to be studied in the NCI Bioassay Program. This
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support included preparing and providing the background data from the scientific
literature concerning exposure and the carcinogenic potential of the substance of interest.
I was recruited by, and joined, the NCI in 1979 to serve as the chief chemist for their
Rodent Bioassay Program and was responsible for directing and monitoring all chemistry
activities, participating in the development of experimental protocols for the 2 year rodent
bioassays conducted at the contract laboratories, and doing on-site inspections of all
bioassay contract labs to insure they were following our protocols. In addition, I took over
the responsibility as secretary for the NCI’s Chemical Selection Working Group (CSWG)
where I coordinated all activities for the identification of new substances to be studied in
the Bioassay Program, including the oversight of the scientific literature searching,
gathering and summarization process, documentation of the CSWG’s review of the data
and recommendations for study by the NCI, and the forwarding of the recommendation
to the Director of the NCI Bioassay Program.
       Following the formation of the National Toxicology Program (NTP) in 1978, the
NCI Rodent Bioassay Program was transferred to the NIH’s National Institute of
Environmental Health Sciences (NIEHS) in 1980 where I transferred to and assumed the
responsibility for all chemistry aspects of the NIEHS Division of Toxicology Research and
Testing. I served as the program leader for chemistry in the National Toxicology Program
(NTP) from 1978 until 1990. While chemistry program leader, I developed chemistry
standards for bioassay studies that were widely accepted as an integral part of many
toxicology-testing programs.      I am listed as a contributor for the evaluation,
interpretation and reporting of results for more than 100 chemicals studied in chronic
two-year bioassay studies by the National Toxicology Program as published in the
Technical Report Series (1980-1990). These bioassay studies were peer reviewed by the
NTP Board of Scientific Counselors.
       In 1990, I transferred to the NIEHS Director’s Office and became involved with the
NTP’s Report on Carcinogens (RoC), working on it for more than 18 years, serving as its
Director for 13 years before retiring from the NIEHS in February of 2008. The RoC is
prepared in response to Section 301(b)(4) of the Public Health Service Act, which
stipulates that the Secretary of the Department of Health and Human Services (DHHS)
shall publish a report which contains a list of all substances which either are known or
may reasonably be anticipated to be human carcinogens; and to which a significant
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number of persons residing in the United States are exposed. This responsibility has been
delegated by the Secretary to the Director, NTP. As Director of the RoC, I was responsible
for the report’s overall preparation, review and approval for the Director, NIEHS/NTP.
In this capacity, I coordinated all review activities related to the RoC, which is one of the
most visible and highly scrutinized activities of the NTP and the DHHS. I oversaw the
identification and review of all new nominations for listing and delisting in upcoming
editions of the RoC. I served as Chairman of the NIEHS RoC Review Committee,
Chairman of the NTP Executive Committee's Interagency Working Group for the RoC,
and Advisor to the NTP's Board of Scientific Counselors' Subcommittee for the RoC. I
supervised the review of each nomination to the RoC, insuring all relevant information
and data for each nomination was available for the review committees and managed the
reviews by the three scientific review committees. Shortly after I became Director of the
RoC in 1995, the Director, NTP, ordered that a review of the RoC be done to broaden input
into its preparation, broaden the scope of scientific review associated with the Report, and
provide review of the criteria used for inclusion of substances in the RoC. I coordinated
this activity, which lead to revised criteria for the RoC being approved by the Secretary,
DHHS in July of 1996. I served as Project Officer for the resource support contract for the
preparation of the RoC, which included providing technical direction and coordination of
the preparation of the documents prepared for each new nomination to the RoC as well
as the preparation of 4 editions of the RoC for submission to the DHHS Secretary for
approval.
       I am the Senior Author for 69 NTP Report on Carcinogens Background
Documents, which contained all available data concerning the exposure and potential
carcinogenic activity of the substance being reviewed for possible listing in the RoC. I
maintained a continuing liaison with other government agencies, private industries, other
non-government research organizations and international organizations to keep abreast
of work being done in chemical carcinogenesis, priorities for the listing of substances in
the RoC, and resources available for the review of substances nominated for listing in the
RoC. I served as the point of contact and focus for all RoC activities which included
interacting with stakeholders from national and international government, industry,
legal, consumer advocate, and other private concerns. I responded to requests for
information from both the national and international press and private individuals on a
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routine basis.   Upon my retirement in 2008, I established CWJ Consulting LLC as a
vehicle for providing expert consulting services in environmental toxicology specializing
in carcinogenesis.
      During my career, I participated as a Working Group Member for the United
Nations’ World Health Organization (WHO) International Agency for Research on Cancer
(IARC). On several occasions, I served as either overall Chair of the Working Group or
Chair of the Subgroup for Cancer in Experimental Animals evaluating cancer data and
publishing monographs of the evaluation. I served as a consultant to the WHO, serving as
a Task Group member to develop Environmental Health Criteria documents for partially
halogenated chlorofluorocarbons (freons).
      I am the author or co-author of over 80 peer reviewed scientific publications and
nine book chapters. The vast majority of these publications relate to studies conducted
in support of animal carcinogenesis bioassay programs. As mentioned above, I was the
editor of four editions of the RoC, senior author for 69 NTP RoC Background Documents
for substances reviewed for listing in the Report and listed as a contributor for the
evaluation, interpretation and reporting of results for more than 100 chemicals studied
in chronic two-year bioassay studies by the NTP as published in the Technical Report
Series (1980-1990). I co-edited two books: “Chemistry for Toxicity Testing” and “Health
and Safety for Toxicity Testing.” A copy of my current curriculum vitae is attached as
Exhibit A.


International Agency for Research on Cancer (IARC)
      As an introduction, I would like to explain the International Agency for Research
on Cancer’s (IARC) review of glyphosate to assess its potential carcinogenicity, and the
development of Monograph 112. The Working Group classified glyphosate as “probably
carcinogenic to humans” (Group 2A) at their meeting in March of 2015. Following this
meeting, there have been a number of publications (including, but not limited to,
Williams et al.1, 2; Chang and Delzell3, Solomon4) criticizing the IARC review process and
conclusions.
      The purpose of the Monographs is to render critical reviews and evaluations of
carcinogenicity evidence of a wide range of human exposures.5 The Monographs


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represent a hazard identification that involves examination of all relevant information to
assess the strength of the available evidence that an agent can cause human cancer.
Identifying carcinogens is a key step in cancer prevention, and this activity represents an
important international activity towards improving public health. The IARC Preamble5
states that a “cancer ‘hazard’ is an agent that can cause cancer under some circumstances,
while a cancer ‘risk’ is an estimate of the carcinogenic effects expected from exposure to a
cancer hazard. The Monographs are an exercise in evaluating cancer hazards, despite the
historical presence of the word 'risks' in the title. The distinction between hazard and risk
is important, and the Monographs identify cancer hazards even when risks are very low
at current exposure levels, because new uses or unforeseen exposures could engender
risks that are significantly higher.” In other words, hazard assessment determines
whether an agent can cause cancer.
       For the review of glyphosate as it relates to Monograph 112, IARC perfomed a
search for all relevant biological and epidemiological data from publically available
sources and sent copies of the materials found to the Working Group participants
approximately six months prior to the start of the meeting. In addition to the materials
sent from IARC, Working Group participants perform their own independent search of
the scientific literature. As the IARC Preamble notes, “with regard to epidemiological
studies, cancer bioassays, and mechanistic and other relevant data, only reports that have
been published or accepted for publication in the openly available scientific literature
were reviewed.”5 IARC also considers relevant and publically available material from US
Environmental Protection Agency (“EPA”). Studies determined to be irrelevant,
inadequate, or published too late to be adequately evaluated were cited but were not
summarized. This process of data collection is typical of all IARC Monographs and is the
body of literature used by the Working Group participants during each Monograph
anaylsis.
       The IARC Working Group meeting takes places at its headquarters in Lyon, France
and lasts for approximately seven to eight days, where the Working Group will then
finalize the texts and formulate its final evaluations. Participants are assigned to one of
four subgroups covering either exposure data, cancer in humans, cancer in experimental
animals, or mechanistic and other relevant data. Working Group participants are also
assigned individual chemicals or agents being evaluated and asked to prepare preliminary
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working papers for their specific subgroup that are then distributed prior to the meeting.
The subgroups prepare joint drafts and summaries in breakout sessions during the first
few days. The entire Working Group meets in brief plenary sessions every day to get
updates on the progress of each individual subgroup and to discuss any issues the
subgroups may have identified. The final days of the meeting consists of plenary session
meetings to discuss all relevant data, review the subgroup drafts and develop the final
evaluations. The entire Monograph volume is considered the joint product of the Working
Group, and there are no individually authored sections.5
       For Monograph 112, I served as Chairman of the subgroup for Cancer in
Experimental Animals to assess the carcinogenicity of several organophosphate
pesticides that included glyphosate, the active ingredient in Roundup. This meeting was
held March 3-10, 2015 and the Working Group classified glyphosate as “probably
carcinogenic to humans” (Group 2A). This classification was based on limited evidence
in humans for the carcinogenicity of glyphosate where a positive association has been
observed for NHL, sufficient evidence in experimental animals for the carcinogenicity of
glyphosate and that mechanistic and other relevant data support the classification of
glyphosate in Group 2A. To provide a better understanding of this, I will: discuss the
process used by the Working Group to arrive at this classification, define terms, explain
the types of evidence considered, explain the scientific criteria that guide the evaluations,
and explain how conclusions were reached throughout the process.
       The following summary of the Working Group’s evaluation of the available
literature is offered here, but also found in the IARC’s Preamble5:
       •Exposure Data: The Working Group concluded there is wide spread exposure to
glyphosate based on its use as the active ingredient in Roundup® which is a broad-
spectrum herbicide. Glyphosate is the most heavily used herbicide in the world6 and can
be found in soil, air, surface water, groundwater, and food. According to several studies,
glyphosate has also been detected in urine from persons around the world.7-10 The general
population is mainly exposed to glyphosate through diet and from use as a household
weed control.
       •Cancer in Humans: The Working Group identified seven reports from the
Agricultural Health Study (AHS) cohort and numerous reports from case-control studies


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in the evaluation of the epidemiological studies reporting on cancer risks associated with
exposure to glyphosate. This Working Group applied the Bradford Hill criteria in its
analyses and determined that in several case–control studies there was an increased risks
for NHL due to glyphosate exposure.11-18 The Working Group further noted that the
increased risk for NHL persisted in the studies that adjusted for exposure to other
pesticides. The Working Group concluded a positive association has been observed for
exposure to glyphosate and NHL and that there is “limited evidence” in humans for the
carcinogenicity of glyphosate. IARC determines limited evidence of carcinogenicity for an
agent when “a positive association has been observed between exposure to the agent and
cancer for which a causal interpretation is considered by the Working Group to be
credible, but chance, bias or confounding could not be ruled out with reasonable
confidence.”5
       •Cancer in Experimental Animals: The Working Group reviewed scientific
literature and reports including two studies in which glyphosate was reported to be tested
for carcinogenicity in male and female mice by dietary administration, five studies that
tested glyphosate in male and female rats by dietary administration and in drinking-
water in one study. Studies of a glyphosate-based formulation tested in drinking-water
in one study in male and female rats and by skin application in one initiation–promotion
study in male mice were also reviewed. They observed that in one feeding study in male
CD-1 mice,19-22 glyphosate induced a positive trend in the incidence of kidney renal tubule
carcinoma, a rare tumor in this strain of mice. A second feeding study23 reported a
positive trend for hemangiosarcoma (a blood vessel tumor) in male mice. Glyphosate also
increased pancreatic islet-cell adenoma in male rats in two feeding studies.24-26 The
Working Group concluded there is “sufficient evidence” in experimental animals for the
carcinogenicity of glyphosate. IARC defines “sufficient evidence” in experimental animals
is as “a causal relationship has been established between the agent and an increased
incidence of malignant neoplasms or of an appropriate combination of benign and
malignant neoplasms in (a) two or more species of animals or (b) two or more
independent studies in one species carried out at different times or in different
laboratories or under different protocols.”5
       •Mechanistic and Other Relevant Data: The Working Group reported the
mechanistic data literature contained strong evidence that glyphosate causes genotoxicity
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and oxidative stress. The strong evidence of genotoxicity came from studies conducted in
human cells in vitro,27-32 in mammalian model systems in vivo27,32 and in vitro,33,34 and
from studies in other non-mammalian organisms29,35,36,37, all of which yielded largely
positive results. The Working Group also found strong evidence for genotoxicity caused
by glyphosate-based formulations. There were three studies of genotoxicity end-points in
community residents exposed to glyphosate-based formulations, two of which reported
positive associations.38,39 Strong evidence for oxidative stress was determined by studies
conducted in human cells in vitro28,40,41 and in many rodent tissues in vivo.32,42,43 The
Working Group found weak evidence that glyphosate or glyphosate-based formulations
induce receptor-mediated effects,44,45 may affect cell proliferation or death,44,46 and may
also affect the immune system in rodents47 and fish.48,49 The Working Group considered
the body of evidence described above as a whole and reached an overall evaluation of
Group 2A: glyphosate is probably carcinogenic to humans. IARC uses this category when
evidence of carcinogenicity in humans is limited and evidence of carcinogenicity in
experimental animals is sufficient.5
       IARC uses the hazard identification process for its review, and this was done for
Monograph 112. Hazard identification reflects the toxicological “law” of specificity of
effects50. Hazard identification uses a strength of the evidence approach. As applied, the
Working Groups for Monograph 112 rigorously assessed the toxicological, mechanistic,
and epidemiological data to form a judgment regarding the likelihood that the agent
produces cancer.


Information Reviewed
       During the course of work on this case, I reviewed the following materials:
      scientific literature relating to the carcinogenicity of glyphosate and/or glyphosate-
       based formulations;
    government documents relevant to assessing the carcinogenic hazard and risks
       associated with glyphosate and/or glyphosate-based formulations; and,
      various studies and documents produced in the litigation.
For a list of additional materials I reviewed, please see Exhibit B.




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Description of the Methodology Used to Assess Carcinogenic
Potential Associated with Exposure to Glyphosate and/or
Glyphosate-Based Formulations.

       Toxicologists routinely assess the hazards to human health related to exposure to
chemicals in the everyday environment using a process called hazard identification. A
hazard is any agent that can cause harm or damage to humans, property, or the
environment.51 In other words, a hazard is any agent that can cause a specific damage. In
this case, the hazard being examined is glyphosate and/or glyphosate-based
formulations, the specific damage is NHL, and the hazard assessment I am making is to
determine whether or not glyphosate and/or glyphosate-based formulations can cause
NHL. The terms hazard and risk are often used interchangeably; however, these are two
distinct terms. Risk is defined as the probability that exposure to a hazard will lead to a
negative consequence, or more simply, risk = hazard x dose (exposure).52
       Toxicology is the basis on which hazard identification is established. Hazard
assessment has been used for over four decades by a wide variety of governmental and
nongovernmental organizations to evaluate the potential adverse health effects from
chemical exposures. Hazard identification is a standard tool used by toxicologists when
they are trying to determine if exposure to a chemical(s) can cause an adverse health effect
in humans and is the first step in risk analysis. Hazard identification is performed by
identifying the chemical someone has been exposed to and then reviewing the available
toxicity data to outline the spectrum of adverse effects that would be associated with
exposure to that particular chemical.53 The toxicity data could be from studies in humans,
in whole animals, or in cells, or could be data collected on chemically-similar substances
when data on the chemical of interest are limited.
       I used the following criteria for my hazard based assessment of glyphosate and/or
glyphosate-based formulations, that is based on the criteria I developed for the Report
on Carcinogens54 and is the same as defined and characterized by IARC5:
       • Cancer in Humans – Numerous case-control studies and the Agricultural Health
Study (AHS) cohort reporting on possible associations of cancer and exposure to
glyphosate were evaluated for any evidence of a causal relationship between glyphosate
and human cancer.


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             “Sufficient” evidence is defined as when a causal relationship was
              established between exposure to glyphosate and cancer and that chance,
              bias and confounding could be ruled out.5
             “Limited” evidence is defined as a positive association has been observed
              between exposure to glyphosate and cancer and a causal interpretation is
              credible but alternative explanations such as chance, bias or confounding
              could not be ruled out.5
             “Inadequate” evidence is defined as available studies are of insufficient
              quality, consistency or statistical power to permit a conclusion regarding a
              causal association between glyphosate exposure and cancer.5
      • Cancer in Experimental Animals – the experimental animal studies reporting on
possible associations of cancer and exposure to glyphosate were evaluated for any
evidence of a causal relationship between glyphosate and cancer.
             “Sufficient” evidence is defined as a causal relationship between exposure
              to glyphosate and an increased incidence of malignant and/or a
              combination of malignant and benign tumors, in multiple species or at
              multiple tissue sites or from multiple studies, or by multiple routes of
              exposure, or to an unusual degree with regard to incidence, site, or type of
              tumor, or age at onset.5
             “Limited” evidence is defined as the data suggest a carcinogenic effect but
              are limited for making a definitive evaluation because, e.g. the evidence of
              carcinogenicity is restricted to a single experiment; there are unresolved
              questions regarding the adequacy of the design, conduct or interpretation
              of the studies; or the agent increases the incidence only of benign neoplasms
              or lesions of uncertain neoplastic potentials.5
             “Inadequate” evidence is defined as studies that cannot be interpreted to
              show either the presence or absence of a positive carcinogenic effect because
              of major qualitative or quantitative limitations such as inadequate numbers
              of animals, lack of adequate pathology, poor survival, major impurities in
              the test agent, too low a dose to see an effect, etc. It should be noted that
              although animal testing is routinely used to identify cancer hazard, the sites


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              of cancer observed in animals do not always correlate directly with the sites
              of cancer that would be observed in humans55. This can be due to the
              differences in metabolism in laboratory animals and humans, differences in
              pharmacokinetics, or differences in tissue reactivity (pharmacodynamics)
              between species. Animal studies, instead, are used to identify a threat of
              cancer that is applied to human health hazard assessment55. All chemicals
              known to induce cancer in humans, that have been studied under adequate
              experimental conditions, also cause cancer in laboratory animals55 and
              underscores the concept that chemicals found to cause cancer in laboratory
              animals must be considered capable of causing cancer in humans.5
       •Mechanistic and other data – studies containing data relevant to the possible
mechanim(s) of glyphosate carcinogenesis (genetic toxicity, epigenetic effects, etc.) were
also evaluated. Mechanistic data may provide evidence of carcinogenicity and help in
assessing the relevance and importance of findings of cancer in animals and humans.5


Hazard Assessment of the Human Data for Glyphosate and/or
Glyphosate-Based Formulations
       Before discussing the human data for glyphosate and/or glyphosate-based
formulations, I will define the type of epidemiology studies that were reviewed:
       • Case-Control Study - In a case-control study, investigators start by enrolling a
group of people with disease. As a comparison group, the investigator then enrolls a group
of people without disease (controls). Investigators then compare previous exposures
between the two groups. The control group provides an estimate of the baseline or
expected amount of exposure in that population. If the amount of exposure among the
case group is substantially higher than the amount you would expect based on the control
group, then illness is said to be associated with that exposure. The key in a case-control
study is to identify an appropriate control group, comparable to the case group in most
respects, to provide a reasonable estimate of the baseline or expected exposure.56
       • Cohort Study - According to Centers for Disease Control and Prevention (CDC),57
in a cohort study the epidemiologist records whether each study participant is exposed or
not, and then tracks the participants to see if they develop the disease of interest. After a


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period, the investigator compares the disease rate in the exposed group with the disease
rate in the unexposed group. The unexposed group serves as the comparison group or
control, providing an estimate of the baseline or expected amount of disease occurrence
in the community. If the disease rate is substantively different in the exposed group
compared to the unexposed group, the exposure is said to be associated with illness.
       • Meta-Analysis – A meta-analysis is an important component of systematic review
procedure that combines and analyzes quantitative and qualitative data from several
separate but similar experiments or studies to test the pooled data for statistical
significance. Combining the results of multiple studies produces a weighted average of
the included study results and leads to a conclusion with greater statistical power and
point estimate than would be possible from any individual study.


Case Control Studies
       • Cantor et al. (1992)14 evaluated the incidence of NHL among males located in
Iowa and Minnesota. A total of 622 men and 1245 population-based controls were
included in the study. The association with farming occupation and specific agricultural
exposures were evaluated. When compared with non-farmers, the positive associations
(odds ratios) for NHL were significant at 1.2 (95% CI, 1.0–1.5) for men who had ever
farmed, and not significant at 1.1 (95% CI, 0.7–1.9) for 26 exposed cases for ever handling
glyphosate and adjusted for confounders (vital status, age, state, cigarette smoking status,
family history of lymphohaematopoietic cancer, high-risk occupations, and high-risk
exposures).
       •DeRoos et al. (2003)11 pooled the data from three case–control studies12-14 to
study pesticide exposures as risk factors for NHL in men. Of a total study population of
870 cases and 2569 controls, there were 650 cases and 1933 controls included for the
analysis of 47 pesticides that also controlled for potential confounding by other pesticides.
A positive association (odds ratios) for the association between exposure to glyphosate
and NHL in the 36 cases exposed was reported to be significant at 2.1 (95% CI, 1.1–4.0)
in the logistic regression analyses but not in the hierarchical regression analysis (which
uses a more conservative adjustment estimate) at 1.6 (95% CI, 0.9–2.8).
       •The effect of asthma as a modifier of the association between pesticide exposure
and NHL was reported on by Lee et al. (2004)58. The study contained 872 cases diagnosed
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with NHL, 45 of which had been told they also had asthma and 2381 matched controls,
132 reporting to have asthma. Individuals in the study group with a history of asthma had
a non-significantly lower risk of NHL than non-asthmatics and no effect was seen with
pesticide exposure.   A positive associations (odds ratio) for NHL associated with
glyphosate use were reported but were not significant at 1.4 (95% CI, 0.98–2.1; 53
exposed cases) among non-asthmatics and 1.2 (95% CI, 0.4–3.3; 6 exposed cases) for
asthmatics, when compared with non-asthmatic non-exposed farmers.
      •The associations between exposure to pesticides and NHL was studied by
McDuffie et al. (2001)15 in a multicenter population-based study that included 517 cases
and 1506 controls among men of six Canadian provinces. A non-significant positive
association (odds ratios) of 1.26 (95% CI, 0.87–1.80; 51 exposed cases; adjusted for age
and province) and 1.20 (95% CI, 0.83–1.74, adjusted for age, province, high-risk
exposures) were observed for exposure to glyphosate. In an analysis by frequency of
exposure to glyphosate, participants with more than 2 days of exposure per year had a
statistically significant positive association (odds ratio) of 2.12 (95% CI, 1.20–3.73, 23
exposed cases) compared with those with some, but less than 2 days of exposure.
      •Nordstrom et al (1998)59 conducted a study in Sweden on hairy cell leukemia
(considered to be a subtype of NHL). There were 121 cases in men and 484 controls
matched for age and sex. A non-significant age-adjusted positive association (odds ratio)
of 3.1 (95% CI, 0.8–12; 4 exposed cases) was reported for exposure to glyphosate.
      •Hardell and Eriksson (1999)60 reported on the results of the incidence of NHL in
men associated with pesticide exposure in four northern counties in Sweden and included
404 cases and 741 controls. The authors reported a non-significant positive association
(odds ratio) for ever-use of glyphosate of 2.3 (95% CI, 0.4–13; 4 exposed cases) in an
analysis of glyphosate only, and 5.8 (95% CI, 0.6–54) in a multivariable analysis.
      •Hardell et al. (2002)17 performed a pooled analysis of two case–control studies,
one on NHL60 and another on hairy cell leukemia.59 These pooled analyses were based
on 515 cases and 1141 controls. A significant positive association was found for exposure
to glyphosate compared to controls (odds ratio, 3.04; 95% CI, 1.08–8.52; 8 exposed
cases), but the positive association (odds ratio) decreased to a non-significant 1.85 (95%
CI, 0.55–6.20) when study area, and vital status were considered.


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       •A large population based case–control study of exposure to pesticides as a risk
factor for NHL in Sweden was conducted by Eriksson et al. (2008)18. There were 910 cases
and 1016 controls included in the study. The association (odds ratio) for exposure to
glyphosate to NHL was positive and significant at 2.02 (95% CI, 1.10–3.71) compared to
controls, but positive and non-significant at 1.51 (95% CI, 0.77–2.94) when confounders
that included exposure to other pesticides, age, sex, and year of diagnosis or enrolment
were included in the analysis. When exposure to glyphosate for more than 10 days per
year was considered, the positive association (odds ratio) was significant at 2.36 (95% CI,
1.04–5.37). Considering a latency period of greater than 10 years gave a positive
association (odds ratio) that was also significant at 2.26 (95% CI, 1.16–4.40). The authors
also reported an association with exposure to glyphosate and lymphoma subtypes.
Positive associations were reported for most of the cancer forms, including B-cell
lymphoma (odds ratio of 1.87; 95% CI, 0.998–3.51, non-significant) and the subcategory
of small lymphocytic lymphoma/chronic lymphocytic leukemia (odds ratio of 3.35; 95%
CI, 1.42–7.89, significant). These odds ratios were not adjusted for other pesticides.
       •Orsi et al. (2009)61 reported the results of a case–control study conducted in
France. The study included 491 cases (244 cases of NHL, 87 cases of Hodgkin lymphoma,
104 of lymphoproliferative syndrome, and 56 cases of multiple myeloma), and 456 age-
and sex-matched controls. Positive, non-significant associations (odds ratios) for any
exposure to glyphosate were reported: 1.2 (95% CI, 0.6–2.1; 27 exposed cases) for all
lymphoid neoplasms combined, 1.0 (95% CI, 0.5–2.2; 12 exposed cases) for NHL, 0.6
(95% CI, 0.2–2.1; 4 exposed cases) for lymphoproliferative syndrome, 2.4 (95% CI, 0.8–
7.3) for multiple myeloma, and 1.7 (95% CI, 0.6–5.0; 6 exposed cases) for Hodgkin
lymphoma, after adjusting for age, and socioeconomic category.
       •Cocco et al. (2013)62 performed a pooled analysis of case–control studies from six
European countries to investigate the role of occupational exposure to specific groups of
chemicals in the causation of lymphoma overall, B-cell lymphoma, and its most prevalent
subtypes. A total of 2348 incident cases of lymphoma and 2462 controls were included in
the study. Analyses were conducted for lymphoma and the most prevalent lymphoma
subtypes and adjusted for age, sex, and education. A positive, non-significant association
(odds ratio) of 3.1 (95% CI, 0.6–17.1) was reported for exposure to glyphosate and B-cell
lymphoma.
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       I would note that the findings in the McDuffie et al. (2001)15; and Eriksson et al.18
studies is significant because their results are supported by the results reported for
micronucleus formation studies in the bone marrow of mice by Rank et al. (1993)63 where
a single dose caused no effect while Bolognesi et al. (1997)32 and Manas et al. (2009)27
reported that two daily doses of glyphosate did cause micronucleus formation in the bone
marrow of mice in their studies. This implies that level of exposure is an important
consideration in the formation of NHL from exposure to glyphosate.

Cohort Studies
       The Agricultural Health Study (AHS)64 is a large prospective study of cancer and
other health outcomes in a cohort of licensed pesticide applicators and their spouses from
Iowa and North Carolina. The AHS began in 1993 with the goal of answering important
questions about how agricultural, lifestyle and genetic factors affect the health of farming
populations. More than 89,000 farmers and their spouses in Iowa and North Carolina
have participated in the study. It is the only cohort study to date to have published
findings on exposure to glyphosate and the risk of cancer at many different sites. My
summary of the 7 papers available evaluating cancer incidence associated with pesticide
use in the AHS cohort follows:
       •No risk estimates and no significant exposure-response associations with cancer
of the prostate and exposure to glyphosate were reported by Alavania et al (1996).65
       •DeRoos et al. (2005)66,67 evaluated associations between glyphosate exposure and
the incidence of cancer at multiple sites in this cohort including lung, melanoma, multiple
myeloma, and NHL, oral cavity, colon, rectum, pancreas, kidney, bladder, prostate, and
leukemia. No significant exposure–response association with cancer at any of these sites
was found.
       •Flower et al.,68 reported the results of the analyses of risk of childhood cancer
associated with pesticide application by the parents of 17,357 children of Iowa pesticide
applicators from the AHS cohort. For all the children of the pesticide applicators, the risk
of cancer was increased for all childhood cancers combined, for all lymphomas combined,
and for Hodgkin lymphoma, compared with the general population. A non-significant
association (odds ratio) for use of glyphosate and risk of childhood cancer was reported
to be 0.61 (95% CI, 0.32–1.16; 13 exposed cases) for maternal use and 0.84 (95% CI, 0.35–

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2.34; 6 exposed cases) for paternal use.
       • The incidence of cancer of the breast among farmers’ wives in the AHS cohort,
which included 30,454 women with no history of cancer of the breast before enrolment
was reported by Engel et al.,69. There was no difference in incidence of breast cancer for
women who reported ever applying pesticides compared with the general population. A
non-significant association (relative risk) for cancer of the breast was reported to be 0.9
(95% CI, 0.7–1.1; 82 cases) among women who had personally used glyphosate and a non-
significant positive association (relative risk) of 1.3 (95% CI, 0.8–1.9; 109 cases) among
women who never used pesticides but whose husband had used glyphosate.
       •Lee et al.,70 studied the relationship between exposure to agricultural pesticides
and incidence of cancer of the colorectum in the AHS cohort. Non-significant positive
associations (relative risks) with exposure to glyphosate was reported to be 1.2 (95% CI,
0.9–1.6) for cancers of the colorectum, and 1.6 (95% CI, 0.9–2.9) for cancers of the
rectum. A non-positive association of 1.0 (95% CI, 0.7–1.5) was reported for cancers of
the colon.
       •Andreotti et al.,71 used a case–control analysis nested in the AHS cohort to study
associations between the use of pesticides and cancer of the pancreas. For pancreatic
cancer, a positive association (odds ratio) for ever- versus never-exposure to glyphosate
was found but not significant at 1.1 (95% CI, 0.6–1.7; 55 exposed cases) and for highest
category of level of intensity-weighted lifetime days was also found but not significant at
1.2 (95% CI, 0.6–2.6; 19 exposed cases).
       •Dennis et al.,72 reported that exposure to glyphosate was not associated with
cutaneous melanoma within the AHS cohort but did not report a risk estimate.

Meta-Analyses
       •Schinasi & Leon73 conducted a systematic review and meta-analysis of NHL and
occupational exposure to agricultural pesticides, including glyphosate. The meta-analysis
for glyphosate included six studies (McDuffie et al.,15 Hardell et al.,17 DeRoos et al.,67,11
Eriksson et al.,18 and Orsi et al.61) and yielded a significant positive asso ciation (meta
risk-ratio) of 1.5 (95% CI, 1.1–2.0) for exposure to glyphosate and NHL.
       •IARC74 conducted an additional meta-analysis of NHL and occupational exposure
to agricultural pesticides, including glyphosate using data from Schinasi & Leon73 and

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included the fully adjusted risk estimates from the studies published by Hardell et al.,17
and Eriksson et al.18 After considering the adjusted estimates of the two Swedish studies
in the meta-analysis, the positive association ( meta risk-ratio) was still significant at 1.3
(95% CI, 1.03–1.65).
       •Chang and Delzell3 also conducted a systematic review and meta-analysis to
examine the relationship between glyphosate exposure and risk of lymphohematopoietic
cancer including NHL, Hodgkin lymphoma, multiple myeloma, and leukemia. Their
analysis showed a positive association (meta-relative risks or meta-RRs) and was
statistically significant for the association between any versus no use of glyphosate and
risk of NHL (meta-RR=1.3, 95% confidence interval (CI)=1.0–1.6, based on six studies)
and multiple myeloma (meta-RR =1.4, 95% CI=1.0–1.9; four studies). The authors
conducted four meta-analyses for NHL, all reporting to have a significant positive
association (meta-RR) of 1.3 or 1.4 with 95% CIs ranging from (1.0-1.6) to (1.0-1.8). The
authors concluded “we found marginally significant positive meta-RRs for the association
between glyphosate use and risk of NHL.”


Summary for Human Data
       I have evaluated available epidemiology data. Based on my experience doing
hazard assessments, I learned that epidemiologists consider case–control studies
particularly valuable for determining the carcinogenicity of an agent because their design
facilitates exposure assessment and reduces the potential for certain biases. My review of
the literature finds that the two case-control studies from the United States and Canada,
and the two case–control studies from Sweden indicated statistically significant positive
associations between exposure to glyphosate and NHL. The Canadian study, McDuffie
(2001)15, reported a positive association between glyphosate exposure and NHL for those
case subjects with more than two days/year of exposure (odds ratio of 2.12 (95% CI, 1.20–
3.73) when compared to those with less than two days exposure. Three studies reported
excesses for NHL associated with exposure to glyphosate, after adjustment for other
pesticides, De Roos (2003) reported a significant positive association (odds ratio) for a
pooled US study11 at 2.1 (95% CI, 1.1–4.0).; and the two Swedish studies (Hardell (2002)17,
Eriksson (2008)18) reported significant positive associations of 3.04; 95% CI, 1.08–8.52


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and 2.36 (95% CI, 1.04–5.37). The positive association from Hardell (2002)17 decreased to
non-significance (1.85 (95% CI, 0.55–6.2)) when study area, and vital status were
considered. Subtype-specific analyses in a Eriksson (2008)18 indicated positive
associations for total NHL, as well as all subtypes, but this association was statistically
significant only for the subgroup of lymphocytic lymphoma/chronic lymphocytic
leukemia (odds ratio, 3.35; 95% CI, 1.42–7.89). A European study62 based on few cases
also indicated an elevated risk (OR, 3.1; 95% CI, 0.6–17.1) for B-cell lymphoma. A French
hospital-based case–control study61 did not find an association between exposure to
glyphosate and NHL (OR, 1.0; 95% CI, 0.5–2.2) based on few exposed cases. For the
evaluation of glyphosate, the Agricultural Health Study (AHS) is currently the only cohort
study available providing information on its potential carcinogenicity and did not show
an excess of NHL. There were three groups that did meta-analyses of the human data for
an association between glyphosate use and NHL.           Schinasi and Leon73 reported a
significant positive association (meta-RR) of 1.5 (95% CI, 1.1–2.0). The IARC study74
showed a positive association (meta-RR) of 1.3 (95% CI, 1.03-1.65). Chang and Delzel3
provided four separate meta-analyses, all of which are reported as having a significant
association (meta-RR) of either 1.3 or 1.4 with CIs ranging from (1.0-1.6) to (1.0-1.8).
When the data across all epidemiological studies are combined, results indicate a positive
association between glyphosate exposure and NHL in humans.
       Interpreting the epidemiology findings requires one to properly weight studies
according to quality rather than simply count the number of positives and negatives. The
pooled case–control analysis from the USA11 contained 650 cases of NHL. It follows that
the case-control studies provide a stronger assessment of the potential carcinogenicity of
glyphosate. The case-control studies in the US11, Canada15 and Sweden17,18 indicate a
significant positive association for NHL with exposure to glyphosate. This positive
association was also observed in the studies that adjusted for other pesticides. The AHS
cohort did not show an excess of NHL; however it reports on only 92 NHL cases in the
unadjusted analysis.64 The three meta-analyses I reviewed are good examples of objective
evaluations and show a consistent positive association between glyphosate and NHL.
Drawing on the Bradford-Hill criteria75 for causality, I would state that the observations
are consistent (relative risks and meta analyses are positive for the case control studies),
significant, not specific, temporally observed, shows a biological gradient, and is coherent
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with the animal evidence (discussed below). Using my stated criteria, I conclude there is
“Limited” evidence for the carcinogenicity of glyphosate in humans, because a positive
association has been observed between exposure to glyphosate and NHL, and a causal
interpretation is creditable but alternative explanations such as chance, bias or
confounding could not be completely ruled out.

Hazard Assessment of the Experimental Animal Data for Glyphosate and/or
Glyphosate-Based Formulations
       Before discussing the experimental animal data for glyphosate and/or glyphosate-
based formulations, I will define what is involved in a cancer bioassay in experimental
animals. The basic cancer bioassay design has remained relatively constant for more than
40 years and consists of groups of 50 male and female mice and rats in each dose and
control group. Treatment traditionally lasts for 24 months and commences when the
animals are 6–8 weeks of age. Early bioassay studies involved two treatment groups plus
a control group. The first treatment group was a high dose, referred to as a maximally
tolerated dose (MTD), and the second treatment group was half that dose. More recent
studies typically include three (and sometimes up to five) treatment groups plus the
control group.
       In the bioassays, I reviewed the nature and extent of impurities or contaminants,
the animal species, strain, sex, numbers per group, age at start of treatment, route of
exposure, dose levels, duration of exposure, survival and information on tumors. With
regard to the tumors, I evaluated the incidence, latency, severity or multiplicity of
neoplasms or preneoplastic lesions. Studies in experimental animals that I determined to
be inadequate for evaluation (e.g. too short a duration, too few animals, poor survival)
can be found at the end of my reference list.

Cancer Bioassays in Mice
       •Knezevich and Hogan76 (1983) were the authors of a report submitted to the
Environmental Protection Agency (EPA)77 by Monsanto in support of the registration of
glyphosate as an herbicide. This report was also discussed in the paper by Greim78
(referred to as Study 10). For 24 months, groups of 50 male and 50 female CD-1 mice
received diets containing glyphosate (purity, 99.7%) at a concentration of 0, 1000, 5000,

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or 30,000 ppm, ad libitum. The study observed no treatment-related effect on body
weight in male and female mice at the lowest or intermediate dose, but a slight reduction
in body weight in the male and female mice at the highest dose compared with controls.
Survival in all dose groups was similar to controls. (It does not appear that a MTD was
reached). There was a positive trend79 (p = 0.016, trend test) in the incidence of renal
tubule adenoma in dosed male mice: 0/49, 0/49, 1/50 (2%), 3/50 (6%). Renal tubule
adenoma is a rare tumor in CD-1 mice. Historical control data from 14 studies conducted
between 1977 and 1981 at the testing laboratory indicated that the mouse renal tumors
ranged from 0 to 3% and the incidence in the current study (3/50; 6%) exceeded the upper
limit of the historical control range by a factor of two. The rarity of this tumor in CD-1
mice is documented in a publication by Chandra and Frith80 that reports only 1 out of 725
[0.14%] CD-1 male mice in their large historical database had developed renal cell tumors
(one carcinoma). No tumors of the kidney were observed in the female mice. No other
tumor sites were identified.
      A re-evaluation of the original renal section was conducted by a Monsanto
consulting pathologist who reported a small renal tubule adenoma in one control male
mouse, which was not diagnosed as such in the original pathology report.81 This finding
was contrary to the initial findings of Bio/dynamics lab, the lab commissioned to
complete this report. Following Monsanto’s submission of the consulting pathologist’s
report, the EPA reported there was no difference in diagnoses between his and other
pathologists’ diagnoses with respect to kidney tumors in mid- and high-dose groups (i.e.
0/49, 0/49, 1/50 (2%), 3/50 (6%)). The EPA pathologist also indicated in his report79 this
data also shows a positive trend (p = 0.016, trend test) in the incidence of renal tubule
adenoma in the dosed male mice. Regarding the questionable male control kidney, it was
his opinion that the presence of a tumor cannot definitely be established. Nonetheless,
the EPA requested additional renal sections be cut and evaluated from all male mice in
the control and treated groups; this additional review found no additional tumors.81 The
EPA also requested that a pathology working group (PWG) be convened to evaluate the
tumors of the kidney observed in male mice treated with glyphosate, including the
additional renal sections.82 Monsanto sponsored a PWG that reported the incidence of
adenoma of the renal tubule was 1/49 (2%), 0/49, 0/50, 1/50 (2%)(not statistically
significant); the incidence of carcinoma of the renal tubule was 0/49, 0/49, 1/50 (2%),
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2/50 (4%) (which gives a significant p = 0.037, trend test for carcinoma); and the
incidence of adenoma or carcinoma (combined) of the renal tubule was 1/49 (2%), 0/49,
1/50 (2%), 3/50 (6%) (which gives a significant p = 0.034, trend test for combined). The
PWG did not discuss their finding of an adenoma in the control male mice or address the
previous opinion that the presence of a tumor in the control male mice cannot definitely
be established and concluded the kidney tumors were not compound related.83 It is
important to note that the renal tumor identified in the controls by the PWG after re-
evaluation of the original slides was not seen in the re-sectioned kidney slides. My
conclusion of the results discussed above is that there was a significant increase in the
incidence of these rare kidney tumors in the CD-1 mouse, with a dose-related trend, which
is caused by glyphosate. For the purpose of this hazard identification the increase the
incidence of carcinoma of the renal tubule and the incidence of adenoma or carcinoma
(combined) of the renal tubule in male mice is due to treatment with glyphosate that
caused a significant, dose related increase of these rare tumors in male CD-1 mice.
       •Atkinson et al.84 (1993) were the authors of a report submitted to the EPA in
support of the re-registration of glyphosate as an herbicide. This study was also discussed
in the paper by Greim78 (Study 11). Groups of 50 male and 50 female CD-1 mice were
given diets containing glyphosate (purity, 98.6%) at a concentration that was adjusted
weekly for the first 13 weeks and every 4 weeks thereafter to give doses of 0, 100, 300, or
1000 mg/kg bw, ad libitum, for 104 weeks. There was no treatment-related effect on body
weight or survival in any of the dosed groups indicating a maximum tolerated dose was
not achieved. The EPA reported77 a statistically significant increase in the incidence of
hemangiosarcoma (blood vessel tumor) in males – 0/47, 0/45, 0/50, 4/45 (9%) (p < 0.01,
trend test), and non-significant increase in females – 0/50, 2/50 (4%), 0/50, 1/50 (2%).
The EPA pointed out that the incidence in the high dose males was near the upper limit
(0-8%) for the performing laboratory. However, if one looks at excerpts from the full
report,84 Table 15 (page 97) indicates that as few as 2 animals per dose group were
examined histologically for this tumor. This would lead one to consider that the incidence
of this tumor could have been higher in this study as more of these tumors could have
been found if all 50 animals per dose group were examined. There was also reported a
non-significant   increase   in   the   incidence    of   histiocytic   sarcoma   in   the
lymphoreticular/haemopoietic tissue in males – 0/50, 2/50 (4%), 0/50, 2/50 (4%), and
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in females – 0/50, 3/50 (6%), 3/50 (6%), 1/50 (2%). The EPA stated77 that for their risk
analysis, the increase in hemangiosarcomas in male mice was not considered to be
treatment-related. For the purpose of this hazard identification, I determined the
increased incidence of hemangiosarcomas in male mice is due to the treatment with
glyphosate that caused a significant dose related increase in the incidence of
hemangiosarcoma in male CD-1 mice. This association may have been stronger if all the
animals in this study had been examined histologically for this tumor.
       •Greim78 (Study 12, Sugimoto, K.) reported on a study submitted by Arysta Life
Sciences to the EPA in support of the re-registration of glyphosate as an herbicide. Groups
of ICR-CD-1 mice (50/sex/group received diets containing glyphosate (94.6–97.6% pure)
at 0, 1600, 8000 or 40,000 ppm for 18 months. Parameters evaluated included clinical
signs, body weight, food consumption, hematology, clinical chemistry, and urinalysis,
organ weights, gross necropsy and histopathological examination. The EPA reported77 no
adverse effects on survival were observed in either sex across the doses tested and there
were no statistically significant increases in any tumor type in this study based on details
provided by Greim78. A review of the tumor tables for this study (Sugimoto85) shows that
there was a significant trend for the development of hemangiosarcomas in male mice
(0/50; 0/50; 0/50; 2/50 (4%)) with a p-value for trend of 0.008, Chi-Square test; a
significant trend for the development of malignant lymphomas in male mice (2/50 (4%);
2/50 (4%); 0/50; 6/50 (12%)) with a p-value for trend of 0.008, Chi-Square test; and a
significant trend for the development of renal adenomas (0/50; 0/50; 0/50; 2/50 (4%))
with a p-value for trend of 0.008, Chi-Square test seen in male mice. The EPA also
reported86 that hemangiosarcomas in female mice were found to occur with a statistically
significant trend in this study (0/50; 0/50; 2/50, (4%); 5/50, (10%) p=0.002, Trend test),
and the tumor incidence in the high-dose female mice was statistically significant with
p=0.028 as compared to concurrent controls. I also reviewed the Tier II Summaries for
Glyphosate Carcinogenicity Studies from Greim, et al.87 for Study 12, Sugimoto, which
showed a reported statistically significant increase in malignant lymphoma in high dose
male mice – 0/26, 0/34, 1/27(4%), 5/29(17%) (p<o.05 Fisher’s exact test); however I
could not resolve the difference in the tumor incidence between the Greim Tier II
Summary87, the published Greim et al, 201578 and the Sugimoto85 tumor tables. These
appear to be low response rates but this is only an 18-month study where low rates of
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tumors are not unusual. For the purpose of this hazard identification there was an
increased incidence of malignant and/or a combination of malignant and benign tumors,
at multiple tissue sites in male and female CD-1 mice in this study. The significant
increase in malignant lymphoma in high dose male mice, and the significant trend in the
development of hemangiosarcomas, malignant lymphomas, and renal adenomas in male
mice is due to treatment with glyphosate that caused these cancers in male CD-1 mice.
The significant trend in the development of hemangiosarcomas in female mice is also
related to treatment with glyphosate that caused this cancer in female CD-1 mice.
       •Greim78 (Study 14, Wood, et al. 2009b) reported on a study submitted by Nufarm
to the EPA in support of the re-registration of glyphosate as an herbicide. Groups of 51
male and 51 female CD-1 mice were given diets containing glyphosate (purity, 94.6–
97.6%) at a concentration of 0, 500, 1500, or 5000 ppm for 18 months. Parameters
evaluated included clinical signs, body weight, food consumption, organ weights, gross
necropsy and histopathological examination. There was no treatment-related effect on
survival. In male mice at the high dose there was a significant increase in the incidence of
malignant lymphomas (0/51, 1/50(10%), 2/51(4%), 5/51(10%) p<0.05, pair-wise
comparison, p<0.01 for trend) and a significant increase in the trend of formation of
adenocarcinomas of the lung (5/51(10%), 5/51(10%), 7/51(14%), 11/51(22%) p<0.01 for
trend86). For the purpose of this hazard identification, I determined the formation of
malignant lymphomas and the formation of adenocarcinomas of the lung in male mice in
this study is due to treatment with glyphosate that caused a significant increase in the
incidence of malignant lymphoma in high dose male CD-1 mice and an increase in the
trend of formation of the adenocarcinomas of the lung and malignant lymphomas in male
CD-1 mice.
       •Greim78 (Study 13, Kumar) reported on a study submitted by Feinchemie
Schwebda to the EPA in support of the re-registration of glyphosate as an herbicide.
Groups of 50 male and 50 female Swiss albino mice [age at start not reported] were given
diets containing glyphosate (purity >95%) at a concentration of 0, 100, 1000, or 10,000
ppm for 18 months. There were no treatment-related effects on clinical signs, behavior,
body weight, body weight gain, food consumption, and differential white blood cell counts
in both sexes. There was a slightly higher mortality rate observed in the high dose groups.
There was a significant increase in malignant lymphoma reported in high dose male mice
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(10/50, 20%; 15/50, 30%; 16/50, 32%; 19/50, 38%, p<0.05 pair wise) and female mice
(18/50, 36%; 20/50,40%; 19/50, 38%; 25/50, 50%, p<0.05 pair wise). There was also a
significant increased trend (one-sided p-value for trend=0.05) for the formation of this
tumor in males. The incidence of malignant lymphoma in the high dose male was double
the historical rate, reported to be 18%87 for males, and for high dose female mice the
incidence was well above the historical rate of 41%87. There was also a significant
increased trend in the incidence of kidney renal cell adenomas reported88 in males (0/50;
0/26; 1/26 (4%); 2/50 (4%); one-sided p-value for trend p=0.04). I would note that the
EPA stated77 this study was not included in their review due to the report by Greim
(2015)78 that there was possibly a viral infection within the colony, which confounded the
interpretation of the study findings. EPA also stated although the incidences in this study
were within or near the normal variation of background occurrence. It is not clear
whether or not ther viral component may have contributed to incidence value reported or
the lower survival seen at the high dose in the study.89 An internal Monsanto email among
the authors of Greim would indicate there was no viral infection in the mouse colony
during this study. Further, Greim78 (table 18, p. 201) considers this study GLP and OECD
compliant. For the purpose of this hazard identification, I determined formation of
malignant lymphoma in the male and female mice and the renal cell adenomas in males
in this study is due to treatment with glyphosate that caused a significant increase in the
incidence of malignant lymphoma in high dose male and female Swiss albino mice and
renal cell adenomas in male Swiss albino mice.


Cancer Bioassays in Rats
       •Greim78 reported on a Bio/dynamics study (Study 1, Lankas, et al.) submitted by
Monsanto to the EPA in support of the registration of glyphosate as an herbicide. Groups
of 50 male and 50 female Sprague-Dawley rats were fed diets containing glyphosate
(98.7%, pure) at concentrations of 0, 30, 100 or 300 ppm for 26 months. These
concentrations were adjusted during the course of the study so that actual doses of 0, 3,
10, and 31 mg/kg/day in males and 0, 3, 11, and 34 mg/kg/day in females were
maintained. There were no treatment-related effects on body weight or survival at any
dose level. An MTD was not achieved. There was a significant increase reported in the
incidences of interstitial cell tumors in the testes of male rats: controls 0/50, 0%; low dose
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3/5, 6%; mid dose 1/50, 2%; high dose 6/50; 12%; p=0.013 by pairwise comparison77. The
incidence of interstitial cell tumors in the testes in the high dose animals in this study is
almost twice that seen in the range of this tumor (3.4% to 6.7%) in control animals
(historical controls) from 5 contemporary studies87. There was also a significant increase
in the incidence of pancreatic islet cell adenoma reported in males at the low dose:
controls, 0/50; low dose 5/49, 10% (p < 0.05 Fisher exact test); mid dose 2/50, 4%; high
dose 2/50, 4%. For the purpose of this hazard identification, I determined the increase
in the incidence of interstitial cell tumors in the testes and pancreatic cell tumors in male
rats is due to the treatment with glyphosate that caused a significant increase in the
incidence of interstitial cell tumors in the testes and pancreatic islet cell tumors in male
Sprague-Dawley rats.
       •Greim78 reported on a study (Study 2, Stout, et al.) submitted by Monsanto to the
EPA in support of the registration of glyphosate as an herbicide. Groups of 60 male and
60 female Sprague-Dawley rats were given diets containing glyphosate (technical grade;
purity, 96.5%) at a concentration of 0 ppm, 2000 ppm, 8000 ppm, or 20,000 ppm, ad
libitum, for 24 months. No compound-related effect on survival was observed. There was
no statistically significant decreases in body-weight gain in male rats. The study reported
significant decreases in body-weight gain in females at the highest dose, beginning on day
51. There was a statistically significant increase in the incidence of pancreatic islet cell
adenoma in males at the lowest dose compared with controls: control 1/58, 2%; low dose
8/57, 14% (p ≤ 0.05 Fisher exact test); mid dose 5/60, 8%; high dose 7/59, 12%. The EPA77
did additional analysis of this data for pancreatic islet cell adenoma by excluding rats that
died or were killed before week 55 and then using statically analyses (Cochran–Armitage
trend test and Fisher exact test) that gave a statistically significant higher incidence of
these tumors in males at the lowest and highest doses compared with controls: control
1/43, 2%; low dose 8/45, 18% (p = 0.018; pairwise test); mid dose 5/49, 10%; high dose
7/48, 15% (p = 0.042; pairwise test). The incidence of these adenomas in the low (18%)
and high (15%) dose males was almost twice that seen in historical controls. The range
for historical controls for pancreatic islet cell adenoma reported in males at this
laboratory was 1.8–8.5%77. One should note that there was no statistically significant
positive trend in the incidence of these tumors, and no apparent progression to
carcinoma. There was also a statistically significant positive trend (p = 0.016) in the
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incidence of hepatocellular adenoma observed in male rats86 and a statistically significant
positive trend of thyroid follicular cell adenomas (p = 0.031) and thyroid follicular cell
adenomas and carcinomas combined (p=0.033) observed in female rats86 reported in this
study. For the purpose of this hazard identification, I determined that the increase in the
incidence of pancreatic islet cell adenoma in male rats is due to the treatment with
glyphosate that caused a significant positive increase in the incidence of pancreatic islet
cell adenomas of male Sprague-Dawley rats. Glyphosate also caused a significant increase
in the trend for formation of hepatocellular adenomas in male Sprague-Dawley rats and
of thyroid follicular cell adenomas and follicular cell adenomas and carcinomas combined
in female Sprague-Dawley rats.
       •Greim78 reported on a study (Study 3, Atkinson, et al.) submitted by Cheminova
to the EPA in support of the registration of glyphosate as an herbicide. Groups of 50 male
and 50 female Sprague-Dawley rats were given diets containing glyphosate, purity, 98.7–
98.9%, at a concentration that were adjusted to provide doses of 0, 10, 100, 300, or 1,000
mg/kg bw/day, ad libitum, for 104 weeks. Decreased body-weight gain was observed in
males and females at the highest dose. There was no significant decrease in survival
reported at any dose level. Neoplasms were noted in control and treated groups, but dose-
responses were not evident, and no statistically significant increases versus controls were
noted for any tumor type. Additionally, EPA’s evaluation86 of this study indicated there
were no treatment-related increases in the occurrence of any tumor type in this study.
       •Greim78 reported on a study (Study 7, Brammer) submitted by Syngenta to the
EPA in support of the re-registration of glyphosate as an herbicide. Groups of 52 male
and 52 female Wistar rats received diets containing 0, 2,000, 6,000, and 20,000 ppm
glyphosate (97.6% pure), ad libitum, for 24 months. Survival in the high dose group males
was significantly better than the other dose groups throughout the study while survival in
the females was similar across all dose groups. The bodyweights of the high dose males
and females were statistically significantly lower than controls throughout the study. The
study’s author reported no significant increase in turmor incidence in any of the treated
groups. The EPA’s evaluation77 of this study indicated there was a significant increase in
the incidence of hepatocellular adenomas in male rats at the high dose when compared to
controls (control 0/52, 0%; low dose 2/52, 4%; mid dose o/52, 0%; high dose 5/52, 10%,
p=0.03). There was also a significant trend (p=0.008) in the formation of this tumor in
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male rats. The EPA goes on to state the incidences observed were within the range (0–
11.5%) of historical controls for this strain of rats in 26 studies conducted during the
relevant time period (1984–2003) at the testing laboratory indicating this increase was
not considered to be related to treatment with glyphosate. For the purpose of this hazard
identification, I determined the increase in the formation of hepatocellular adenomas in
male Wistar rats could not be attributed to exposure to glyphosate in this study despite
the fact that there was an observation of increased incidence of hepatocellular adenomas
in male rats.
       •Greim78 reported on a study (Study 4, Suresh) submitted by Feinchemie
Schwebda to the EPA in support of the registration of glyphosate as an herbicide. Groups
of 50 male and 50 female Wistar rats received diets containing 0, 100, 1,000, and 10,000
ppm glyphosate (97.6% pure), ad libitum, for 24 months. There were no treatment-
related deaths or clinical signs in any of the dose-groups and there were no treatment
related effects on body weight gain or food consumption noted. This suggests that the
MTD was not reached, and this study is inadequate for the evaluation of the
carcinogenicity of glyphosate.
       •Greim78 reported on a study (Study 6, Enomoto) submitted by Arista Life Sciences
to the EPA in support of the registration of glyphosate as an herbicide. Groups of 50 male
and 50 female Sprague-Dawley rats received diets containing 0, 3,000, 10,000, or 30,000
ppm glyphosate (94.6–97.6% pure) for 24 months. Decreases in body weight were
observed in both sexes in the mid and high dose group along with a lower food
consumption. Survival in the high dose males was lower than controls while there was no
compound-related effect on survival in any other dose group. There were no statistically
significant increases in any tumor type reported for this study.
       •Greim82 reported on a study (Study 8, Wood 2009a) submitted by Nufarm to the
EPA in support of the registration of glyphosate as an herbicide. Groups of 51 male and
51 female Wistar rats received diets containing 0, 3,000, 10,000, or 15,000 ppm
glyphosate (95.7% pure) for 24 months, the highest dose level was progressively increased
to 24000 ppm by week 40. There were no treatment-related deaths or clinical signs in
any of the dose-groups. No significant treatment-related effects on mortality were
observed during the study. This suggests that the MTD was not reached, and this study is
inadequate for the evaluation of the carcinogenicity of glyphosate.
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       •Chruscielska et al.90 gave groups of 55 male and 55 female Wistar rats drinking-
water containing an ammonium salt of glyphosate (purity not given) that was used to
make drinking water solutions of 0, 300, 900, and 2700 mg/L, for 24 months. The
authors reported that survival and body-weight gain were similar in treated and control
animals and that no significant increase in tumor incidence was observed in any of the
treated groups. There was limited information provided on dosing regimen,
histopathological examination method, and tumor incidences that makes this study
inadequate for the purpose of this hazard assessment.


Summary for Experimental Animal Data
       I reviewed a total of five dose feed bioassays of glyphosate in mice. Four of these
studies (Study 12 and Study 14 in Greim78, Knezevich and Hogan (1983)76, and
Atkinson84) were in male and female CD-1 mice, and one study78(Study13) was in male and
female Swiss albino mice. Glyphosate caused a significant increase in the incidence of
adenoma or carcinoma (combined) and a significant positive trend for the formation of
adenoma or carcinoma (combined) of the renal tubule in male CD-1 mice in one study76,
and a significant positive trend for the formation of adenomas of the renal tubule in male
CD-1 mice in another study78(Study 12). Glyphosate also caused a significant increase in the
incidence of renal cell adenomas in male Swiss albino mice78(Study13). Adenoma and
carcinoma of the renal tubule constitutes a morphological continuum in the development
and progression of renal neoplasia in mice91,92. It is important to note that renal tubule
carcinoma is a very rare tumor in CD1 mice80 and that this tumor was caused by exposure
to glyphosate in two different strains of mice (CD-1 and Swiss). Glyphosate caused a
significant increase in the incidence of malignant lymphoma in male CD-1 mice in two
studies78(Study 12, Study 14) and in male and female Swiss albino mice in another study78 (Study
12). Glyphosate also caused a significant positive trend for the formation of malignant

lymphoma in one of these studies in male CD-1 mice78(Study 12) and caused a significant
positive trend for the formation of hemangiosarcomas in 2 separate studies in male CD-1
mice78(Study 12),84. There was also a significant positive trend for the formation of
adenocarcinomas of the lung in male CD-1 mice in one study78(Study 14) and
hemangiosarcomas in female CD-1 mice in another study82(Study 12).


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       I reviewed a total of 7 dosed feed and 2 drinking water bioassays of glyphosate in
rats. Four of the feed studies and one drinking water study were in male and female
Sprague-Dawley rats and three feed studies and one drinking water study were in male
and female Wistar rats. Glyphosate caused a significant increase in the incidence of
pancreatic islet cell adenoma in two feeding studies in male Sprague-Dawley rats78(Study 1
and Study 2). Glyphosate caused a significant increase in the incidence of thyroid tumors in

male Sprague-Dawley rats in one feeding study78(Study 1) and a significant positive trend for
the formation of thyroid tumors in female Sprague-Dawley rats in another feeding
study78(Study 2). Glyphosate caused a significant increase in the incidence of interstitial cell
tumors in the testes of male Sprague-Dawley rats in one feeding study and a significant
positive trend for the formation of hepatocellular adenomas in male Sprague-Dawley rats
in another feeding study78(Study 1).
       To state my findings more concisely, I determined that in CD-1 mice, glyphosate
expsoure causes kidney tumors in males in two separate studies76,78(Study                    12),

hemangiosarcomas in males in two separate studies,78(Study 12),84 malignant lymphoma in
males in two separate studies78(Study 12, Study 14), adenocarcinomas of the lung in males in
one study78(Study 14), and hemangiosarcomas in females in one study78(Study 12). In one
study78(Study 13) in Swiss albino mice, exposure to glyphosate causes malignant lymphoma
in males and females and kidney tumors in males.
       I also determined that in Sprague-Dawley rats, glyphosate exposure causes
pancreatic cell tumors in males in one study78(Study 2), interstitial cell tumors in the testes
in males in one study78(Study 1), hepatocellular adenomas in males in two studies78(Study 2,
Study 7), and thyroid follicular cell tumors in females in one study78(Study 2).

       Considering all data from the mice and rat studies I reviewed, there is “Sufficient”
evidence that shows glyphosate is carcinogenic in experimental animals causing kidney
tumors, hemangiosarcomas, malignant lymphoma, adenocarcinomas of the lung, and
hemangiomas in mice and pancreatic cell tumors, interstitial cell tumors in the testes,
hepatocellular adenomas, and thyroid follicular cell tumors in rats. This statement is
based on my stated criteria of a causal relationship between exposure to glyphosate and
an increased incidence of malignant and/or a combination of malignant and benign
tumors, in multiple species, at multiple tissue sites, from multiple studies, and to an
unusual degree with regard to incidence, site, or type of tumor.
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Hazard Assessment of the Mechanistic and Other Data for
Glyphosate and Glyphosate-Based Formulations
       Data on the absorption of glyphosate via intake of food and water in humans could
not be found in the published literature. Glyphosate has been found in the urine of
agricultural workers. In a study by Acquavella7, 60% of farmers had detectable levels of
glyphosate in 24-hour composite urine samples taken on the day they had applied a
glyphosate-based formulation. Wearing protective gear such as rubber gloves reduced the
concentrations of glyphosate in the urine. This implies that dermal absorption is a
relevant route of exposure. Curwin8 demonstrated that glyphosate is also present in the
urine of non-farm families. No data in humans on the distribution of glyphosate in
systemic tissues other than blood were found in the available published literature. In
cases of accidental or deliberate intoxication involving ingestion of glyphosate-based
formulations, glyphosate was measured in blood.
       Strong evidence indicates that glyphosate is genotoxic. As noted in Monograph
112, studies in human cells27,31,32, mammalian model systems27,32,33, and in non-
mammalian organisms35,37 have given positive results . The end-points evaluated in these
studies included biomarkers of DNA adducts and various types of chromosomal damage.
Tests in bacterial assays gave consistently negative results.
       The evidence for genotoxicity caused by glyphosate-based formulations is also
strong. As noted in Monograph 112, three studies39,93,94 reported examining genotoxic
end-points in community residents exposed to glyphosate-based formulations and two of
these studies reported positive associations. One study39 looked at micronucleus
formation in circulating blood cells before and after aerial spraying with glyphosate-based
formulations to determined chromosomal damage in exposed individuals. This study
revealed a significant increase in micronucleus formation after exposure in three out of
four different geographical areas. Additional positive evidence came from in vitro studies
with positive results in human cells32,45, in vivo27,32 and in vitro95 studies in mammalian
systems, and studies in non-mammalian organisms35,96 such as fish. Biomarkers of DNA
adducts and different types of chromosomal damage were examined in these studies. The
pattern of tissue specificity of genotoxicity end-points observed with glyphosate-based


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formulations is similar to that observed with glyphosate. Tests of glyphosate-based
formulations in bacterial assays gave generally negative results.
       There is strong evidence that glyphosate and glyphosate-based formulations
induce oxidative stress. As noted in Monograph 112, vidence of oxidative stress comes
from in vitro studies in human cells97,98 and in many in vivo studies32,42, examining
rodent tissues. Studies of oxidative stress and glyphosate in non-human mammalian
experimental systems were conducted in rats and mice, and examined a range of exposure
durations, doses, preparations (glyphosate and glyphosate-based formulations),
administration routes and tissues. In these studies glyphosate caused free radicals and
oxidative stress in mouse and rat tissues through alteration of antioxidant enzyme
activity, depletion of glutathione, and increases in lipid peroxidation. In at least one of the
studies in human cells the oxidative stress caused by glyphosate was ameliorated by co-
administration of antioxidants40. Similar findings of oxidative stress have been reported
in fish and other aquatic species providing additional evidence for glyphosate-induced
oxidative stress99. Molecular epidemiology studies100,101 have documented that oxidative
stress is a pathway to the formation of NHL in humans. Further, the in vitro studies in
humans cells and in vivo and in vitro studies in rodents provides evidence that exposure
to glyphosate causes oxidative stress.       Logically it follows that there is a positive
association between oxidative stress caused by glyphosate and glyphosate-based
formulations and NHL observed in humans exposed to glyphosate-based formulations
and that a causal interpretation is credible.


Hazard Assessment Conclusion
       Based on the significant positive association observed in the studies discussed
above, I conclude that there is evidence that glyphosate and glyphosate-based
formulations are carcinogenic in humans. First, the human study data supports a positive
association between exposure to glyphosate and glyphosate-based formulations and the
development of NHL. Second, all the data from the animal bioassay studies provide
evidence that glyphosate is carcinogenic in experimental animals. Third, the mechanistic
data show that glyphosate and glyphosate-based formulations cause genotoxicity and
oxidative stress in humans and animals. Therefore, I conclude to a reasonable degree of


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scientific certainty that glyphosate and glyphosate-based formulations are probable
human carcinogens. I also conclude to a reasonable degree of scientific certainty that
glyphosate and glyphosate-based formulations cause NHL in humans.



Compensation and Testimony

       My billing rate is $400/hr plus travel fees and expenses. I have not testified in
any case in the last four years.




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Health Practice, Third Edition. An Introduction to Applied Epidemiology and
Biostatistics. Available from:
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approach. Int J Pharm, 288(2):219–26.

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Strupp C (2015). Evaluation of carcinogenic potential of the herbicide glyphosate,
drawing on tumor incidence data from fourteen chronic/carcinogenicity rodent studies.
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                                   C W Jameson - Curriculum Vitae and Bibliography




1980 – 1983:           Head, Chemistry Section, Program Resources Branch, National Toxicology Program
                       (NTP), National Institute of Environmental Health Sciences (NIEHS), NIH, Research
                       Triangle Park, North Carolina

1983 – 1985:           Acting Chief, Program Resources Branch, NTP, NIEHS, NIH,
                       Research Triangle Park, North Carolina

1985 – 1989:           Head, Program Resources Group, Carcinogenesis and Toxicologic Evaluation Branch,
                       NTP, NIEHS, NIH, Research Triangle Park, North Carolina

1989 – 1990:           Supervisory Chemist, Experimental Toxicology Branch, NTP, NIEHS, NIH, Research
                       Triangle Park, North Carolina

1990 – 1995:           Senior Chemist, Office of the Senior Scientific Advisor to the Director NIEHS, NIH,
                       Research Triangle Park, North Carolina

1995 – 2008            Director, Report on Carcinogens, NTP, NIEHS, NIH, Research Triangle Park, North
                       Carolina

2008 – present         Principal, CWJ Consulting, LLC, Cape Coral, Florida


Department of Health and Human Services Activities

       Chairman, National Toxicology Program’s Executive Committee’s Interagency Working Group for the
       Report on Carcinogens, 1995 to 2005

National Institutes of Health Activities

       NIEHS Representative to the Deafness and Other Communication Disorders Interagency Coordination
       Committee, 1990 - 1996.

       NIEHS Representative on the Task Force on Aging Research, 1990-1994.

National Institutes of Environmental Health Sciences Activities

       Chairman, NIEHS/NTP Review Committee for the Report on Carcinogens,
       1995 to 2005

       Chairman, Search Committee for NIEHS Tenure / Tenure Track Staff Epidemiologist
       1998

       Peer-Review Panel Member for Draft Report on Carcinogens Monograph on Cobalt and Certain Cobalt
       Compounds. July, 2015

       Member and Chairman for the Special Emphasis Panel to review proposals responding to RFP
       ES2015038, “Scientific Information Management and Literature-Based Evaluations for the National

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       Toxicology Program (NTP).” The objective of this contract is to provide scientific and technical
       expertise and support for the NTP to compile, review, and analyze information and data from the
       scientific literature and other sources regarding the effects of environmental substances and other issues
       that may impact public health. October, 2015

International Activities

       Member, WHO Task Group on Environmental Health Criteria for Fully Halogenated
       Chlorofluorocarbons, Neuherberg, Federal Republic of Germany, November 21 – 25, 1988.

       Member, WHO Task Group on Environmental Health Criteria for Partially Halogenated
       Chlorofluorocarbons (Ethane Derivatives), Carshalton, Surrey, United Kingdom, September 30 –
       October 5, 1991.

       NIEHS representative to the WHO’s International Agency for Research on Cancer (IARC) Workgroup
       preparing Monograph Vol. 82 on the Carcinogenic Risks To Humans Of Some Traditional Herbal
       Medicines, Some Mycotoxins, Naphthalene And Styrene, Lyon, France, February 11 – 20, 2002

       Member, IARC Monographs Advisory Group for Five Year Plan, Lyon, France, 18-21 February 2003

       NIEHS representative to the WHO’s International Agency for Research on Cancer (IARC)
       Workgroup preparing Monograph Vol. 87 on The Carcinogenic Risks To Humans Of Lead And
       Lead Compounds, Lyon, France, February 8 – 18, 2004

       NIEHS representative to the WHO’s International Agency for Research on Cancer (IARC) Workgroup
       preparing Monograph Vol. 91 on The Carcinogenic Risks To Humans Of Combined Oral
       Contraceptives And Estrogen-Progestogen Replacement Therapy, Lyon, France, June 4-15, 2005.

       NIEHS representative to the WHO’s International Agency for Research on Cancer (IARC) Workgroup
       preparing Monograph Vol. 93 on The Carcinogenic Risks To Humans Of Carbon Black, Titanium
       Dioxide And Non-Asbestiform Talc, Lyon, France, February 4 – 15, 2006

       Member, WHO’s International Agency for Research on Cancer (IARC) Workgroup preparing
       Monograph Vol. 97 on The Carcinogenic Risks To Humans Of 1,3 –Butadiene, Ethylene Oxide,
       And Vinyl Halides (Vinyl Fluoride, Vinyl Chloride And Vinyl Bromide), Lyon, France, June 6-15,
       2007.

       Member and Chair of Experimental Animal Data Subgroup, WHO’s International Agency for
       Research on Cancer (IARC) Workgroup preparing Monograph Vol. 99 on The Carcinogenic Risks
       To Humans Of Some Industrial And Cosmetic Dyes And Related Exposures, Lyon, France,
       February 4-13, 2008.

       Member, WHO’s International Agency for Research on Cancer (IARC) Workgroup preparing
       Monograph 100A on A Review Of Human Carcinogens - Pharmaceuticals (Anti-Cancer Drugs –
       Hormonal Drugs & Therapies – Others), Lyon, France, October 14 – 21, 2008.




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                                C W Jameson - Curriculum Vitae and Bibliography


      Member and Chair of Experimental Animal Data Subgroup, WHO’s International Agency for Research
      on Cancer (IARC) Workgroup preparing Monograph Vol. 100F on A Review Of Human Carcinogens -
      Chemical Agents And Related Occupations, Lyon, France, October 20 – 27, 2009.
      Member and Chair of Experimental Animal Data Subgroup, WHO’s International Agency for Research
      on Cancer (IARC) Workgroup preparing Monograph Vol. 103 on Bitumen And Bitumen Fumes, And
      Some Heterocyclic Aromatic Hydrocarbons, Lyon, France, October 11 - 18, 2011.

      Member and Chair of Experimental Animal Data Subgroup, WHO’s International Agency for Research
      on Cancer (IARC) Workgroup preparing Monograph Vol. 105 on Diesel And Gasoline Exhausts And
      Some Nitroarenes, Lyon, France, June 5 - 12, 2012.

      Member WHO’s International Agency for Research on Cancer (IARC) Workshop on Tumour
      Concordance And Mechanisms Of Carcinogenesis: Lessons Learned From Volume 100 of the IARC
      Monographs, Lyon, France: April 16-18, 2012 and November 28-30, 2012
      Member and Chair of Experimental Animal Data Subgroup, WHO’s International Agency for
      Research on Cancer (IARC) Workgroup preparing Monograph Vol. 108 On Some Drugs And
      Herbal Medicines, Lyon, France, June 4 - 11, 2013.

      Member and Chair of Experimental Animal Data Subgroup, WHO’s International Agency for
      Research on Cancer (IARC) Workgroup preparing Monograph Vol. 112 on Some Organophosphate
      Insecticides And Herbicides, Lyon, France, March 3-10, 2015.

      Member and overall Chair, WHO’s International Agency for Research on Cancer (IARC)
      Workgroup preparing Monograph Vol. 115 on Some Industrial Chemicals, Lyon, France, February
      2-9, 2016.

      Member, WHO’s International Agency for Research on Cancer (IARC) Workgroup preparing
      Monograph 116 on Coffee, Mate And Very Hot Beverages, Lyon, France, May 24 – 311, 2016.



Honors and Awards

      President, Student Affiliate Chapter of the American Chemical Society, Mount Saint Mary's College,
      1969; Vice President, 1968.

      National Toxicology Program Representative to American Chemical Society's Committee on Regulatory
      Affairs 1982 – 1992.

      National Institutes of Health Special Achievement Cash Award (Spy Dust Project): 1986.

      Merit Pay Cash Award for Sustained High Quality Work Performance, NIEHS: 1982, 1989

      Performance Award for Sustained High Quality Work Performance, NIEHS: 1991, 1992, 1993, 1995,
      1996, 2001, 2002, 2003, 2004, 2006, 2007.


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        Special Act or Service Award, NIEHS: 1996 (Review of Report on Carcinogens criteria); 1997
        (Publication of 8th Report on Carcinogens); 1998 (Recruitment of NTP Staff Epidemiologist), 1998
        (Restructuring of lead biokinetics contract and establishment of new Report on Carcinogens support
        contract)

       Staff Recognition Award, NIEHS: 1999 (Preparation of final draft of 9th Report on Carcinogens)

       NIEHS Director’s Award, NIEHS: 2000 (Review of nominations for the 9th Report on Carcinogens)

Special Training

       American Chemical Society, Short Course: "Chemical Carcinogenesis," 1978.

       National Institutes of Health (NIH) Training Course: "Project Officers Civil Rights Contract
       Compliance," 1979.

       Department of Health and Human Services Training (DHHS) Course: "Program Officials Guide to
       Contracting," 1980.

       U. S. Office of Personnel Management (OPM) Training Course: "EEO - Its Place in the Federal
       Government," 1983.

       U. S. OPM Training Course: "Introduction to Supervision," 1984.

       NIH Training Course: "Employee Performance Management System Training," 1984.

       DHHS Training Course: "Advanced Project Officer Training," 1985.

       National Institute of Environmental Health Sciences Training Course: "Care and Handling of
       Laboratory Animals,” 1986.

       Rockhurst College Continuing Education Center: "How to Manage Projects, Priorities and Deadlines,"
       1992.

       NIH Training Course: "PHS Animal Welfare Policy for HSA's," 1993.

       Fred Pryor Seminars: "Total Quality Management," 1994.

       Fred Pryor Seminars: "How to Manage Priorities and Meet Deadlines," 1994.

       NIH Training Course: "Workplace Violence," 1994.

       NIH Training Course: "NIH Guidelines on the Inclusion of Women and Minorities as Subjects in
       Clinical Research," 1994.

       NIH Training Course: "Workplace Issues Associated with HIV/AIDS," 1994.

       The Bookings Institution Course: “Issues in Science and Technology Policy”, 1996

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Professional Society Memberships and Activities

       American Chemical Society

       -         Division of Analytical Chemistry

       -         Division of Chemical Health and Safety

       -         National Toxicology Program Representative to American Chemical Society's Committee on
                 Regulatory Affairs 1982 – 1992

       -         Overall Co-Organizer and Co-Chairman of a symposium entitled "Chemistry and Safety for
                 Toxicity Testing of Environmental Chemicals," sponsored by the Divisions of Chemical Health
                 and Safety, Analytical Chemistry and Environmental Chemistry at the 183rd National American
                 Chemical Society Meeting, Las Vegas, NV, March 1982.

       Society of Toxicology


Research interests:

       Chemical Carcinogenesis
       Analytical chemistry methods development to support toxicology studies.

Reviewer for Scientific Journals

       Analytical Chemistry
       Bulletin of Environmental Contamination & Toxicology (Member of Editorial Board)
       Environmental Health Perspectives (Contributing Editor)
       Fundamental and Applied Toxicology
       Journal of the National Cancer Institute
       Science


Invited Papers

       Invited to be Session Chairman and to present paper entitled "Analytical Chemistry Requirements for
       Toxicity Testing of Environmental Chemicals" at the Symposium on Chemistry and Safety for Toxicity
       Testing of Environmental Chemicals, at the 183rd National American Chemical Society Meeting, Las
       Vegas, NV, March 1982.

       Invited to serve as a panelist on the NBC nationally televised series "Health Field" with Dr. Frank Field.
       A two-day series was filmed on Environmental Chemistry and Chemical Health Concerns, 1982.


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Invited to give a seminar entitled "Analytical Chemistry Requirements for Toxicity Testing." Duke
University, Durham, NC, July 1982.

Invited to present a paper entitled "Practical Aspects of Analytical Chemistry Support for Toxicity
Testing" at the Symposium on the Role of the Analytical Chemist in Animal and Molecular Toxicology,
at the Federation of Analytical Chemistry and Spectroscopy Societies Meeting XI, Philadelphia, PA.
September 16-21, 1984.

Invited to present a paper entitled "Application of Microencapsulation in Toxicity Testing" at the
NIEHS Center Directors Meeting, Research Triangle Park, North Carolina, November 1984.

Invited to be Session Chairman and to present paper entitled "Chemical Quality Assurance Techniques
for Toxicity Testing of Environmental Chemicals" at the Symposium on Accurate Measurements of
Environmental Pollutants, at the 1984 International Chemical Congress of Pacific Basin Societies,
Honolulu, Hawaii, December 16-21, 1984.

Invited to present a paper entitled "Lack of Evidence for Involvement of Cyanide in Methyl Isocyanate
(MIC) Toxicity" at the Society of Toxicology Meeting, New Orleans, LA, March 3-7, 1986.

Invited to present a paper entitled "Toxicology From A Chemist's Viewpoint" at the Mount Saint Mary's
College Science Alumni Homecoming, Emmitsburg, Maryland, October 23-26, 1986.

Invited to be Session Chairman and to present paper entitled "Application of Microencapsulation for
Toxicity Studies" at the Symposium on Techniques for Microencapsulation of Chemicals at the 198th
National Meeting of the American Chemical Society, Dallas, Texas, April 10-14, 1989.

Invited to be Session Chairman and to present paper entitled "Application of a Fischer Rat Leukemia
Transplant Model as a Screen for the Leukemogenic Potential of Chemicals" at the International
Symposium on Toxicology, Beijing, P. R. China, October 16-19, 1990.

Invited to present a paper entitled "Investigation of Alternative Vehicles for Use in Toxicology
Research: Use of Microencapsulated and Molecular Encapsulated Chemicals in Toxicity Studies" at the
Institute of Pharmacology and Toxicology, Academy of Military Medical Sciences, Beijing, P. R. China,
October 20, 1990.

Invited to present a paper entitled "Toxicology and Carcinogenicity Studies of d- Limonene in Male and
Female F344 Rats and B6C3F1 Mice" at the Symposium on Food Phytochemicals for Cancer
Chemoprevention at the 204th National Meeting of the American Chemical Society, Washington, D.C.,
August 23-28, 1992.

Invited to be a Faculty Member and to present talk entitled " The National Toxicology Program’s Report
on Carcinogens " at the Toxicology Forum, Washington, DC, February 1995.

Invited to be a Faculty Member and to present talk entitled " The Report On Carcinogens (RoC): Status
Of The Review Of The Criteria For Listing Substances In The RoC " at the Toxicology Forum,
Washington, DC, February 1996.




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               Case 3:16-md-02741-VC Document 648-6 Filed 10/27/17 Page 52 of 76
                                 C W Jameson - Curriculum Vitae and Bibliography


       Invited to be a Faculty Member and to present talk entitled " Update of 1997 review of Nominations for
       the 9th Report on Carcinogens " at the Toxicology Forum, Washington, DC, February 1998.

       Invited to be a Faculty Member and to present talk entitled " NTP Report on Carcinogens: History and
       the Process " at the Toxicology Forum, Aspen, CO, July 1999.



                                            BIBLIOGRAPHY
Publications

1.     Mazzocchi PH, Ammon HL, Jameson CW. Lanthanide Shift Reagents III: Errors Resulting from the
       Neglect of Angle Dependence, Tetrahedron Letters, 573, 1973.

2.     Jameson CW. I. Study of Lanthanide shift Reagent - Substrate Interaction in Solution. II.
       Competitive Photochemical Type I and Type II Reactions of Amides and Imides. Dissertation
       Abstracts, 1975.

3.     Ennis DM, Kramer A, Mazzocchi PH, Jameson CW, Bailey WJ. Synthetic N-Releasing Biodegradable
       Soil Conditioners I, Hort Science, 10, 505, 1975.

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3.     2-Amino-3,4-dimethylimidazo[4-5-f]quinoline (MeIQ) - 2002
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6.     2-Amino-3-methylimidazo[4,5-f]quinoline (IQ) - 2002
7.     Azacitidine - 1996
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18.   Cyclosporin A - 1996
19.   Danthron (1,8-Dihydroxyanthraquinone) - 1996
20.   Diazoaminobenzene - 2002
21.   2,3-Dibromo-1-propanol - 2000
22.   Diesel Exhaust Particulates - 1998
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39.   Methyleugenol - 2000
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42.   Nickel Compounds - 1998
43.   Nickel (Metallic) and Certain Nickel Alloys - 2000
44.   o-Nitroanisole - 1996
45.   Nitrobenzene - 2002
46.   6-Nitrochrysene - 1996
47.   Nitromethane - 2002
48.   1-Nitropyrene - 1996
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50.   Phenolphthalein - 1997
51.   Saccharin - 1997
52.   Silica, Crystalline (Respirable Size) - 1998
53.   Smokeless Tobacco - 1997
54.   Solar Radiation & Exposure to Sunlamps or Sunbeds - 1997
55.   Strong Inorganic Acid Mists Containing Sulfuric Acid - 1997
56.   Styrene-7,8-oxide - 2000

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58.   2,3,7,8-Tetrachlorodibenzo-p-dioxin (TCDD) - 1997
59.   Tetrafluoroethylene - 1997
60.   4,4'-Thiodianiline - 2002
61.   Thiotepa - 1996
62.   Tobacco Smoking - 1997
63.   1,2,3-Trichloropropane - 1996
64.   Trichloroethylene - 1997, 2000
65.   Ultraviolet (UV) Radiation, Broad Spectrum and UVA, UVB, and UVC - 2000
66.   Vinyl Bromide - 2000
67.   Vinyl Fluoride - 2000
68.   Wood Dust - 2000
69.   X-Radiation & Gamma Radiation and Neutrons – 2003



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